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                          LINITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                                                       c(L ?0.79 D50          lotJ
 UNITED STATES OF AMERICA,                            INDICTMENT

                       Plaintiff                      18 u.s.c. $ e22(eXl)
                                                      18 u.s.c. 5 e2a@)Q)
           v.                                         18 rJ.s.c. $ e24(dx1)
                                                      21 u.s.c..$ 841(a)(1)
 JEFFREY LEONARD REWEY,                               21 U.S.C. $ 841(bXrXB)
                                                      21 U.S.C. $ 8s3
                       Defendant.                     28 U.S.C. $ 2a6l(c)



       THE UNITED STATES GRAND JURY CHARGES THAT:

                                        COUNT     1
                (Possession With The Intent To Distribute Methamphetamine)

       On or about July I1,2019, in the State and District of Minnesota, the defendant,

                            JEFFREY LEONARD REWEY,

did unlawfully, knowingly.and intentionally possess with intent to distribute 50 grams or

more of a mixture or substance containing a detectable amount of methamphetamine,            a


controlled substance, in violation of Title 21, United States Code, Sections 841(a)(l), and

841(bX1XB).

                                        COUNT 2
                             (Felon in Possession of a Firearm)

       On or about July 1 1,2019, in the State and District of Minnesota, the defendant,

                            JEFFREY LEONARD REWEY,

having previously been convicted of the following crimes, each of which was punishable

by imprisonment for a term exceeding one year, namely,
                                                                               SCANNEI}
                                                                                ilAY   14m        '
                                                                             u.s. DrsTBlcrcouRT
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 Offense                                  .Place'of Citnviction            Date of Convi'ction

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                                                     4'-g          :   I        -    .o..! o'   ,{i

 Third Degree Criminal Sexual
                                          Ramsey County, MN                January 11, 1990
 Conduct

 Third Degree Criminal Sexual
                                          Washinston Countv. MN            August 6,1992
 Conduct

 Felon in Possession of a
                                          Ramsey County, MN                Mav 1.2008
 Firearm

 Failure to Register as a
                                          Ramsey County, MN                Mav 1.2008
 Predatory Offender

 Fifth Degree Narcotics
                                          Ramsey County, MN                March 7 ,2012
 Possession

 Felon in Possession of a
                                          Ramsey County,    MN         June 9. 2014
 Firearm


and knowing that he had been convicted of at least one crime'punishable by imprisonment

for   a   term exceeding one year, knowingly possessed, in and affecting interstate commerce,

two firearms, a Springfield XD .45 caliber semi-automatic handgun bearing serial number

U5604791, and a Ruger .380 caliber semi-automatic handgun bearing serial number

3779482, in violation of Title 18, United States Code, Sections            922(gQ) and92,4(a)(2).

                                  FORFEITURE ALLEGATIONS

           Counts 1 and 2 of this Indictment are incorporated by reference for the purpose of

alleging forfeitures pursuant to Title 18, United States Code, Section 924(d), Title 21,

United States Code, Section 853, and Title 28, United States Code, Section 26at@).

           Upon conviction of Count       I of this Indictment, the defendant shall forfeit to the
United States pursuant to Title 21, United States Code, Section 853(a)(l) and (2), any and
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all property constituting, or derived from, any proceeds the defendant obtained directly or

indirectly as a result of said violation, including, but not limited to, approximately

83,922.00 in cash seized from the defendant's residence on July 11,2019.                  If any of the
above-described forfeitable property is unavailable for forfeiture, the United States intends

to seek the forfeiture of substitute property        as   provided for in Title 21, United States Code,

Section 853(p).

        Upon conviction of Count         I   or 2 of this Indictment, the defendant shall forfeit to the

United States any firearms, accessories and ammunition involved in or used in connection

with such violation including, but not limited to: 1) a Springfield XD, .45 caliber semi-

automatic handgun, bearing serial number US604791;2) a Ruger, .380 caliber semi-

automatic handgun bearing serial number 3779482;                      3) and all ammunition      seized

therewith, pursuant to Title 18, United States Code, Section 924(d)(l), and Title 28, United

States Code, Section 2461(c).

                                               A TRUE BILL




UNITED STATES ATTORNEY                                      FOREPERSON
